                        Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 1 of 26


AO 442 (Rev. 11111)    Arrest Warrant



                                               UNITED STATES DISTRICT COURT
                                                                                  for the

                                                                       District of Columbia


                      United States of America
                                    v.                                                 )
                       BRANDON              FELLOWS                                    )        Case No.
                                                                                       )
                                                                                       )
                                                                                       )
                                                                                       )
                               Defendant


                                                               ARREST WARRANT
To:       Any authorized law enforcement officer


          YOU ARE COMMANDED                        to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)             BRANDON   FELLOWS
                                        ------------------------------------------------------------------------
who is accused of an offense or violation based on the following document filed with the court:

o Indictment                o Superseding Indictment                   o Information o Superseding Information                                 ~ Complaint
o Probation Violation Petition                     o Supervised Release Violation Petition    o Violation Notice                               0 Order of the Court

This offense is briefly described as follows:
  18 U.s.C. § 17S2(a) (Restricted Building or Grounds)
  40 U.S.C. § 51 04(e)(2) (Violent Entry or Disorderly Conduct)




                                                                                                                               2021.01.15
                                                                                                                               19:52:23 -05'00'
Date:          01/15/2021
                                                                                                               issuing officer's   Signature


City and state:          Washington,          DC
                                                                                                                 Printed name and title


                                                                                 Return

           This warrant was received on (date)           __ -,->IJ~/.>~J;)_c)_.;;>_\
                                                                                  __       , and the person was arrested on (date)                I
                                                                                                                                                      I
                                                                                                                                                          /1"" l.;Jb~ I
at (city and stale)  At..hc. ••.4 "JC:.-I7a..cK
                                        I

                                  77


Date:
             r  l




                                                                                                                Printed name and title
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 2 of 26




                                                           U.S. DISTRICT COURT – N.D. OF N.Y.

                                                                    FILED
                                                               Jan 16 - 2021

                                                              9        51
                                                           AT___O’CLOCK___MINUTES
                                                                 John M. Domurad, Clerk




                                           NDNY Case No.: 1:21-MJ-032-DJS
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 3 of 26
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 4 of 26
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 5 of 26
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 6 of 26
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 7 of 26
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 8 of 26
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 9 of 26
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 10 of 26
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 11 of 26
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 12 of 26
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 13 of 26
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 14 of 26
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 15 of 26
                        Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 16 of 26
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                        District
                                                 __________      of Columbia
                                                            District  of __________

                  United States of America
                              v.                                  )
                    BRANDON FELLOWS                               )        Case No.
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      BRANDON FELLOWS                                                                                   ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment       u Information        u Superseding Information             ✔ Complaint
                                                                                                                    u
u Probation Violation Petition            u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  18 U.S.C. § 1752(a) (Restricted Building or Grounds)
  40 U.S.C. § 5104(e)(2) (Violent Entry or Disorderly Conduct)




Date:         01/15/2021
                                                                                          Issuing officer’s signature

City and state:       Washington, DC                                           Zia M. Faruqui, U.S. Magistrate Judge
                                                                                           Printed name and title


                                                                Return

           This warrant was received on (date)                        , and the person was arrested on (date)
at (city and state)                                         .

Date:
                                                                                        Arresting officer’s signature



                                                                                           Printed name and title
    Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 17 of 26




X
    X




                                              Digitally signed by Gene V. Primomo
                           Gene V. Primomo    Date: 2021.01.19 16:02:36 ‐05'00'
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 18 of 26



                                                         U.S. DISTRICT COURT – N.D. OF N.Y.

                                                                  FILED
                                                             Jan 19 - 2021

                                                            3        41
                                                         AT___O’CLOCK___MINUTES
                                                               John M. Domurad, Clerk
      Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 19 of 26




1/19/2021                             s/Maria Blunt




1/21/2021
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 20 of 26


                                                         U.S. DISTRICT COURT – N.D. OF N.Y.

                                                                  FILED
                                                             Jan 19 - 2021

                                                            3        38
                                                         AT___O’CLOCK___MINUTES
                                                               John M. Domurad, Clerk
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 21 of 26
Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 22 of 26
     Case 1:21-cr-00083-TNM Document 5 Filed 01/20/21 Page 23 of 26




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

             v.                                       1:21-MJ-032-DJS

BRANDON FELLOWS

                    Defendant




DANIEL J. STEWART
U.S. MAGISTRATE JUDGE



                    ORDER TO RELEASE DETAINED DEFENDANT

      The above-named Defendant has satisfied the conditions for release and the

Defendant shall be released from custody forthwith.




IT IS SO ORDERED.




DATED: January 19, 2021
2/9/2021               Case 1:21-cr-00083-TNM CM/ECF
                                              Document      5 Filed
                                                     LIVE - U.S.          01/20/21
                                                                 District Court - NYND Page 24 of 26


                                     Query       Reports         Utilities    Help    What's New    Log Out

                                                                                                                       CLOSED

                                     U.S. District Court
    Northern District of New York - Main Office (Syracuse) [NextGen CM/ECF Release 1.5
                                 (Revision 1.5.3)] (Albany)
          CRIMINAL DOCKET FOR CASE #: 1:21-mj-00032-DJS All Defendants


 Case title: USA v. Fellows                                                          Date Filed: 01/16/2021
                                                                                     Date Terminated: 01/19/2021

 Assigned to: Magistrate Judge Daniel J.
 Stewart

 Defendant (1)
 Brandon Fellows                                                     represented by Gene V. Primomo
 TERMINATED: 01/19/2021                                                             Office of the Federal Public Defender -
                                                                                    Albany Office
                                                                                    39 North Pearl Street, 5th Floor
                                                                                    Albany, NY 12207
                                                                                    518-436-1850
                                                                                    Fax: 518-436-1780
                                                                                    Email: gene.primomo@fd.org
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
                                                                                    Designation: Public Defender or
                                                                                    Community Defender Appointment
                                                                                    Bar Status: Active
                                                                                    Fee Status: waived_2019

 Pending Counts                                                                      Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                   Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                          Disposition
 18:1752(a): Restricted Building or Grounds
 40:5104(e)(2): Violent Entry or Disorderly
https://nynd-ecf.sso.dcn/cgi-bin/DktRpt.pl?138927162564205-L_1_0-1                                                            1/3
2/9/2021               Case 1:21-cr-00083-TNM CM/ECF
                                              Document      5 Filed
                                                     LIVE - U.S.          01/20/21
                                                                 District Court - NYND Page 25 of 26

 Conduct



 Plaintiff
 USA                                                                 represented by Joshua R. Rosenthal
                                                                                    DOJ-USAO
                                                                                    445 Broadway
                                                                                    Room 218
                                                                                    Albany, NY 12207
                                                                                    518-431-0247
                                                                                    Fax: 518-431-0249
                                                                                    Email: joshua.rosenthal@usdoj.gov
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
                                                                                    Designation: Assistant US Attorney
                                                                                    Bar Status: Active
                                                                                    Fee Status: waived_2019

                                                                                   Richard D. Belliss
                                                                                   Office of United States Attorney - Albany
                                                                                   James T. Foley U.S. Courthouse
                                                                                   445 Broadway, Room 218
                                                                                   Albany, NY 12207-2924
                                                                                   518-431-0247
                                                                                   Fax: 518-431-0249
                                                                                   Email: richard.belliss@usdoj.gov
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED
                                                                                   Designation: Assistant US Attorney
                                                                                   Bar Status: Active
                                                                                   Fee Status: waived_2019
  Email All Attorneys
  Email All Attorneys and Additional Recipients


  Date Filed           # Docket Text
  01/16/2021           1 Rule 5(c)(3) Documents Received from the District of Columbia as to Brandon Fellows.
                         (mab) (Entered: 01/19/2021)
  01/16/2021                Rule 5(c)(3) arrest of Brandon Fellows. (mab) (Entered: 01/19/2021)
  01/16/2021                Text Minute Entry for proceedings (10:31PM-10:41PM) held before Magistrate Judge
                            Daniel J. Stewart: Initial Appearance pursuant to Rule 5(c)(3) as to Brandon Fellows held
                            on 1/16/2021. Appearances: AUSA Rick Belliss. Defendant is present without counsel.
                            Defendant is advised of his rights, charges, maximum penalties and given a copy of the
                            Complaint filed in the District of Columbia. Defendant is questioned as to his financial
                            circumstances. Based upon his responses, the Court finds that he qualifies for counsel and
                            appoints the Office of the Federal Public Defender for representation. Government is not
                            moving for detention, however, it is seeking specific conditions. The Court has concerns
                            surrounding the release of Defendant and prefers to have a bail report and counsel present to
                            address these concerns. A Detention/Removal Hearing is set for 1/19/2021 at 1:30 PM
                            before Magistrate Judge Daniel J. Stewart. Defendant is remanded to the custody of the
                            USMS. (Court Reporter: Recorded/CRD: Maria Blunt). (mab) (Entered: 01/19/2021)

https://nynd-ecf.sso.dcn/cgi-bin/DktRpt.pl?138927162564205-L_1_0-1                                                             2/3
2/9/2021               Case 1:21-cr-00083-TNM CM/ECF
                                                  Document       5 Filed
                                                          LIVE - U.S.          01/20/21
                                                                      District Court - NYND Page 26 of 26

  01/19/2021           2 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Brandon Fellows. Signed
                         by Magistrate Judge Daniel J. Stewart on 1/19/2021. (mab) (Entered: 01/19/2021)
  01/19/2021           3 NOTICE OF ATTORNEY APPEARANCE: Joshua R. Rosenthal appearing for USA as co-
                         counsel with Attorney Richard Belliss (Rosenthal, Joshua) (Entered: 01/19/2021)
  01/19/2021           4 PRETRIAL SERVICES INVESTIGATION REPORT - [LODGED] as to Brandon Fellows.
                         [This document has been electronically lodged with the Court and is viewable by
                         ONLY the attorney for the government, the attorney for the defendant, and the
                         presiding judge. Any further distribution or dissemination is prohibited.] (anp, )
                         (Entered: 01/19/2021)
  01/19/2021           5 NOTICE OF ATTORNEY APPEARANCE: Gene V. Primomo appearing for Brandon
                         Fellows (Primomo, Gene) (Entered: 01/19/2021)
  01/19/2021                Text Minute Entry for proceedings (1:48PM-2:13PM) held before Magistrate Judge Daniel
                            J. Stewart: Detention Hearing as to Brandon Fellows held on 1/19/2021. Appearances:
                            AUSA Joshua Rosenthal o/b/o AUSA Rick Belliss and AFPD Gene Primomo. Defendant is
                            advised that this matter is proceeding by video pursuant to General Order #59. Defendant
                            and counsel consent to proceed by video. Defendant is reminded of his rights as stated
                            during his Initial Appearance. The Court and counsel acknowledge receipt of the Pretrial
                            Services Report. The Government does believe that Defendant is a risk of flight, however, it
                            does not move for detention and agrees with the conditions recommended by Pretrial
                            Services. Atty Primomo speaks on behalf of Defendant. After hearing from counsel, the
                            Court does find the Defendant to be a risk of flight, however, the Court also finds that there
                            are conditions that can be set. Defendant is directed to sign an unsecured bond in the
                            amount of $25,000.00. Conditions of release are set. Defendant waives an Identity Hearing
                            and a Preliminary Hearing in this District. Defendant will appear virtually before the
                            District of Columbia at a date and time to be determined by such Court. The Court will
                            make arrangements with the facility to provide Defendant with the release documents for
                            his signature. Defendant is released on the conditions set forth by the Court. (Court
                            Reporter: Theresa Casal/CRD: Maria Blunt). (mab) (Entered: 01/20/2021)
  01/19/2021           6 WAIVER of Rule 5(c)(3) Hearings in this District by Brandon Fellows. (mab) (Entered:
                         01/20/2021)
  01/19/2021           7 ORDER Setting Conditions of Release as to Brandon Fellows (1). Bond set in the
                         unsecured amount of $25,000.00. Signed by Magistrate Judge Daniel J. Stewart on
                         1/19/2021. (mab) (Entered: 01/20/2021)
  01/19/2021           8 Appearance Bond in case as to Brandon Fellows. Bond set in the unsecured amount of
                         $25,000.00. (mab) (Entered: 01/20/2021)
  01/19/2021           9 ORDER To Release Detained Defendant as to Brandon Fellows. Signed by Magistrate
                         Judge Daniel J. Stewart on 1/19/2021. (mab) (Entered: 01/20/2021)
  01/20/2021                TEXT NOTICE to the Clerk, District of Columbia of a Rule 5 Appearance as to Brandon
                            Fellows: On 1/16/2021, Defendant appeared in the NDNY as a result of an arrest warrant
                            issued. Defendant waived his right to an Identity Hearing and a Preliminary Hearing in this
                            district. A Detention Hearing was held on 1/19/2021 and Defendant was released. NDNY
                            did not collect a bond or passport. Defendant signed an unsecured bond. Please use PACER
                            Court Links to access the public docket and documents. (mab) (Entered: 01/20/2021)




https://nynd-ecf.sso.dcn/cgi-bin/DktRpt.pl?138927162564205-L_1_0-1                                                        3/3
